     Case 1:20-cr-00183-RJJ ECF No. 312, PageID.1849 Filed 08/27/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                               CASE NO. 1:20-CR-183
v.
                                                               HON. ROBERT J. JONKER
KALEB JAMES FRANKS,

            Defendant.
__________________________________/

                                              ORDER

         The government charges defendant Franks and all other remaining defendants with a

kidnapping conspiracy in the original Indictment, ECF No. 86, and in Count 1 of the Superseding

Indictment, ECF No. 172. The Superseding Indictment also charges three defendants, and not

defendant Franks, with conspiracy to use a weapon of mass destruction. Id. (Count 2). Counts 3

and 4 charge certain defendants other than defendant Franks with possession of an unregistered

destructive device and a short-barreled rifle. Id. Defendant Franks asks that the case against him

be severed for trial because he says joinder is either improper under Rule 8, or unfairly prejudicial

under Rule 14 even if technically proper. The Court disagrees and denies the motion.

         Rule 8 governs joinder of offenses and defendants. Joinder of offenses is proper if they

“are of the same or similar character, or are based on the same act or transaction, or are connected

with or constitute parts of a common scheme or plan.” Rule 8(a). Joinder of defendants is proper

“if they are alleged to have participated in the same act or transaction, or in the same series of acts

or transactions, constituting an offense or offenses.” Rule 8(b). Not all defendants need be

charged with each offense. Id.
  Case 1:20-cr-00183-RJJ ECF No. 312, PageID.1850 Filed 08/27/21 Page 2 of 3




        In the Court’s view, joinder is unquestionably proper under these standards. All nineteen

of the factual allegations included in Count 1 are expressly incorporated into the other three

counts. The factual allegations of each charge are not merely connected to each other, they are

overlapping and intertwined. The offenses charged are of the same or similar character—all

involve explosives, firearms or other destructive devices—and are allegedly connected with a

common scheme or plan—namely, the kidnapping conspiracy charged against all defendants,

including defendant Franks.

        When charges and defendants are properly joined, the Court may order severance under

Rule 14 if a joint trial “appears to prejudice a defendant or the government.” However, “[a]s a

general rule, persons jointly indicted should be tried together.” United States v. Causey, 834 F.2d

1277, 1287 (6th Cir.1987). “[W]hen defendants properly have been joined under Rule 8(b), a

district court should grant a severance under Rule 14 only if there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539 (1993).

        A complicated case in which charged defendants have “markedly different degrees of

culpability” can create a risk of spillover prejudice. Zafiro, 506 U.S. at 539. But “[e]ven where the

risk of prejudice is high, less drastic measures, such as limiting instructions, often will suffice to

cure any risk of prejudice . . . . Indeed, a request for severance should be denied if a jury can

properly compartmentalize the evidence as it relates to the appropriate defendants.” United States

v. Driver,535 F.3d 424, 427 (6th Cir. 2008) (quotations omitted). “[A] defendant is not entitled to

severance simply because the evidence against a co-defendant is far more damaging than the

evidence against him.” Causey, 834 F.2d at 1288. “Moreover, a defendant does not have a right to

a separate trial, merely because his likelihood of acquittal would be greater if severance were



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  Case 1:20-cr-00183-RJJ ECF No. 312, PageID.1851 Filed 08/27/21 Page 3 of 3




granted.” United States v. Beverly, 368 F.3d 516 (6th Cir. 2004). “Absent a showing of substantial

prejudice, spillover of evidence from one case to another does not require severance.” Id.

(quotation marks omitted).

         Under these standards, defendant Franks has not made a convincing case for

severance. The focal point of the government’s proofs against all defendants will be the

allegations related to the overarching kidnapping conspiracy charged in Count 1. Evidence

focused specifically on the charges in Counts 2, 3 or 4 will naturally highlight defendants other

than Franks, but all of these other defendants are charged with defendant Franks on the overall

conspiracy. Much, if not all, of this proof would be germane and admissible on the kidnapping

conspiracy charge too. So this is really not a case of spillover risk at all. To the extent there is

any evidence fairly applicable only to a defendant other than defendant Franks, the Court is

confident that an appropriate jury instruction will be able to handle the matter.

         Accordingly, the motion for severance, ECF No. 232, is DENIED.



Dated:      August 27, 2021                   /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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